        Case 4:22-cv-03892-YGR Document 150 Filed 02/01/24 Page 1 of 3



 1
     Joshua Glucoft (SBN #301249)
 2   KIRKLAND & ELLIS LLP
     2049 Century Park East, Suite 3700
 3   Los Angeles, CA 90067
     Tel: (310) 552-4200
 4   Fax: (310) 552-5900
     josh.glucoft@kirkland.com
 5
     Counsel for Defendants,
 6
     Meta Platforms, Inc. and Meta Platforms Technologies, LLC
 7

 8
                                UNITED STATES DISTRICT COURT
 9

10                             NORTHERN DISTRICT OF CALIFORNIA

11                                        OAKLAND DIVISION
12

13    GENTEX CORPORATION and INDIGO
      TECHNOLOGIES, LLC,
14                                                    Case No. 4:22-cv-03892-YGR
                           Plaintiffs,
15                                                    DECLARATION OF JOSHUA GLUCOFT
      THALES VISIONIX, INC.,
                                                      IN SUPPORT OF INVOLUNTARY
16                                                    PLAINTIFF THALES VISIONIX, INC.’S
                           Involuntary Plaintiff,
                                                      ADMINISTRATIVE MOTION TO SEAL
17                                                    PORTIONS OF ITS RESPONSE TO
             v.
                                                      MOTION TO DISMISS [DKT. 145]
18
      META PLATFORMS, INC. and META
19    PLATFORMS TECHNOLOGIES, LLC,

20                         Defendants.

21

22

23

24

25

26

27

28
     GLUCOFT DECLARTION IN SUPPORT OF MOTION TO                  CASE NO. 4:22-CV-03892-YGR
     SEAL
          Case 4:22-cv-03892-YGR Document 150 Filed 02/01/24 Page 2 of 3



 1          I, Joshua Glucoft, do hereby declare as follows:
 2          1.      I am an attorney licensed to practice law in the State of California and am a partner
 3   with the law firm of Kirkland & Ellis LLP, located at 2049 Century Park East, Suite 3700, Los
 4   Angeles, CA 90067.       I am counsel for Defendants Meta Platforms, Inc. and Meta Platform
 5   Technologies, LLC (collectively, “Meta” or “Defendants”) in the above-captioned action. I have
 6   personal knowledge of the matters set forth below and if called and sworn as a witness, I could and
 7   would testify competently to the facts set forth herein.
 8          2.      I make this declaration in support of Involuntary Plaintiff Thales Visionix, Inc.’s
 9   (“Thales”) Administrative Motion to Seal Portions of Its Response to the Joint Motion to Dismiss. I
10   am familiar with Meta’s treatment of highly proprietary and confidential information based on my
11   personal experience representing Meta.
12          3.      I make this declaration in accordance with Local Rule 7-11(a) and Local Rule 79-5 in
13   support of Thales Administrative Motion to Seal Portions of Its Response to the Joint Motion to
14   Dismiss.
15          4.      Exhibit A to the Joint Motion to Dismiss is a true and correct copy of the settlement
16   agreement (the “Agreement”) signed between Plaintiffs and Defendants. Exhibit B to the Joint Motion
17   to Dismiss is a true and correct copy of the term sheet (the “Term Sheet”) signed between Plaintiffs,
18   Defendants, and Involuntary Plaintiff Thales Visionix, Inc. (“Thales”).
19          5.      The Agreement and Term Sheet reflect confidential business information of
20   Defendants, including financial terms and details of confidential licensing negotiations. Such details
21   constitute sensitive business information, not publicly available or publicly disclosed, which
22   Defendants maintain in the strictest confidence. To make publicly available these details about
23   Defendants’ licensing activities would cause substantial economic and competitive harm to
24   Defendants.
25          6.      Certain portions of Thales Response to the Joint Motion to Dismiss discuss the terms
26   of the Agreement and the Term Sheet. These portions also reflect sensitive business information about
27   Defendants’ licensing practices, disclosure of which would cause substantial economic and
28
      GLUCOFT DECLARTION IN SUPPORT OF MOTION TO          1               CASE NO. 4:22-CV-03892-YGR
      SEAL
          Case 4:22-cv-03892-YGR Document 150 Filed 02/01/24 Page 3 of 3



 1   competitive harm to Defendants. The narrowly tailored portions of the Response that reflect or contain
 2   these confidential details are highlighted in yellow.
 3          7.      I declare under penalty of perjury under the laws of the United States of America that
 4   the foregoing is true and correct to the best of my knowledge.
 5
            Executed this 1st day of February 2024 in Los Angeles, California.
 6
                                                    /s/ Joshua Glucoft
 7
                                                    Joshua Glucoft
 8
                                                    Counsel for Defendants,
 9
                                                    Meta Platforms, Inc. and Meta Platforms
10                                                  Technologies, LLC
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
      GLUCOFT DECLARTION IN SUPPORT OF MOTION TO             2            CASE NO. 4:22-CV-03892-YGR
      SEAL
